GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
     DEBTOR, STREAM TV NETWORKS, INC., CASE NO. 21-10433(KBO)



        The Debtor develops its technology and conducts the majority of its business through its
direct and indirect foreign and domestic subsidiaries. The Debtor provided capital to its direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtor directs interested parties to the Declaration of
Mathu Rajan in Support of First Day Motions [Docket No. 51] in which the Debtor’s
organizational and operational structure is described in greater detail.

        In its bankruptcy schedules, the Debtor discloses and describes the assets, including its
ownership interest in direct subsidiaries and its contracts, that the Debtor owned or may have
owned as of February 24, 2021 (the “Petition Date”). The Debtor’s direct subsidiaries, in turn,
hold or may hold ownership interests in the Debtor’s indirect subsidiaries as depicted on the
Debtor’s Organization Chart included in Mr. Rajan’s Declaration. The assets of the Debtor’s
direct and indirect subsidiaries are not included in the Debtor’s bankruptcy schedules.

        It is important to note that, pursuant to an Omnibus Agreement, dated May 6, 2021,
between the Debtor’s senior secured lender, SLS Holdings VI, LLC (“SLS”) and a debt-
resolution committee of the Debtor’s Board of Directors purporting to act on the Debtor’s behalf,
which agreement is presently subject to litigation in the Chancery Court in Delaware, SLS
Holdings and its newly formed company, SeeCubic, Inc. (“SeeCubic”), assert an ownership
interest in all of the Debtor’s assets. SLS and SeeCubic possess some and claim to have obtained
possession or control of other of the Debtor’s assets shortly before the Petition Date. The
Debtor’s investigation into these claims is ongoing. Accordingly, at this time, the Debtor’s
present ownership of some of its assets may not be clear. The Debtor has listed the assets that it
believes it continues to own, unless otherwise expressly indicated in its bankruptcy schedules.
The Debtor intends to pursue recovery of assets and to operate its business under the provisions
of the Bankruptcy Code in this case.

Additional Notes:

       1.      Because US GAAP treatment may not apply to the Debtor’s assets located in
foreign jurisdictions, the values provided for certain assets may differ from typical accounting
standards.

        2.      Funding advanced by the Debtor to its direct and indirect subsidiaries are
reflected in intercompany loans.

      3.      The Debtor’s goodwill and similar intangible value is not reflected in the Debtor’s
bankruptcy schedules.

      4.       SeeCubic BV (the Netherlands) is a subsidiary of the Debtor, Stream TV
Networks, Inc. SeeCubic BV (the Netherlands) is unrelated to and is a separated entity from
SeeCubic Inc., a company newly formed in Delaware by SLS Holdings, Inc.



122187598_1
 Fill in this information to identify the case:

 Debtor name         Stream TV Networks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         21-10433 (KBO)
                                                                                                                         Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                            debtor's interest

 Part 2:     Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.   Unknown at this time                                                                                             $2,108,008.24




 9.         Total of Part 2.                                                                                                    $2,108,008.24
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable


            11b. Over 90 days old:                              228,101.92   -                        54,896.91 =....                 $173,205.01
                                              face amount                        doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 1
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 Debtor         Stream TV Networks, Inc.                                                      Case number (If known) 21-10433 (KBO)
                Name


 12.       Total of Part 3.                                                                                                        $173,205.01
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                      Valuation method used   Current value of
                                                                                                      for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Investments in Technovative Ventures                           100           %   Cost                               $25,000.00




           15.2.     Investment in Curacao C. V.                                    100           %   Cost                                 $8,295.96



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                           $33,295.96
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:    Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Stream TV Networks, Inc.                                                      Case number (If known) 21-10433 (KBO)
                Name

           communication systems equipment and software
           Dell Computer Servers                                                            $0.00                                          Unknown


           See attached schedule                                                            $0.00    Net Book Value                    $105,981.38



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $105,981.38
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See attached schedule.                                                           $0.00    Net Book Value                   $5,405,205.26



 51.       Total of Part 8.                                                                                                      $5,405,205.26
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:    Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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 Debtor         Stream TV Networks, Inc.                                                      Case number (If known) 21-10433 (KBO)
                Name


     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 2009 Chestnut Street,
                     3rd Floor,
                     Philadelphia, PA                     Leased Office
                     19103                                Space                             $0.00                                                  $0.00


            55.2.
                     2726 Bayview Drive,
                     Fremont, CA 94538                    Leased Office                     $0.00                                                  $0.00


            55.3.    No.1-B Factory,
                     High-tech Zone,
                     Suzhou City, Jiangsu
                     Province, China                      Leased Factory                    $0.00                                                  $0.00




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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 Debtor         Stream TV Networks, Inc.                                                     Case number (If known) 21-10433 (KBO)
                Name

           The debtor is compiling this                                  85,534,731.43 -                                  0.00 =
           information and will supplement this                       Total face amount    doubtful or uncollectible amount
           response.                                                                                                                  $85,534,731.43



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)
           Federal NOL carryforward-not reflected on Company
           Balance Sheet                                                                       Tax year 2018                        $118,566,740.00



 73.       Interests in insurance policies or annuities
           Workers Compensation and Employers' Liability Policy
           The Hartford Business Service Center
           3600 Wiseman Blvd
           San Antonio, TX 78251
           Policy No. 38 WEC AK3D7R                                                                                                               $0.00


           Business General Liability Insurance
           Hartford Underwriters Insurance Company, a property
           and casualty company of The Hartford
           One Hartford Plaza
           Hartford, CT 06155
           Policy No. 38 SBM AK3C0R                                                                                                               $0.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Interest in SeeCubic, Inc. with no attributable value                                                                                  $0.00




 78.       Total of Part 11.                                                                                                       $204,101,471.43
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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 Debtor          Stream TV Networks, Inc.                                                                            Case number (If known) 21-10433 (KBO)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $2,108,008.24

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $173,205.01

 83. Investments. Copy line 17, Part 4.                                                                             $33,295.96

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $105,981.38

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $5,405,205.26

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +          $204,101,471.43

 91. Total. Add lines 80 through 90 for each column                                                     $211,927,167.28              + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                             $211,927,167.28




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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SCHEDULE A/B EXHIBIT

     Question 41
Office Furniture and Fixtures Detail Line 41 on Schedule AB


                                                                                                                                                                           Placed in
GL Account                                                                                                     Asset Description                               Asset #      Service     Amount
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge VRTX Rack - Finance Lease # 001-9026263-001       STV-CM-00001     1/1/2019     10,487.46
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge M640 (1 of 2) - Finance Lease # 001-9026263-001   STV-CM-00002     1/1/2019     19,449.58
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge M640 (2 of 2) - Finance Lease # 001-9026263-001   STV-CM-00003     1/1/2019     19,449.58
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge R440 (1 of 3) - Finance Lease # 003-9026263-002   STV-CM-00004   3/31/2019      18,864.92
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge R440 (2 of 3) - Finance Lease # 003-9026263-002   STV-CM-00005   3/31/2019      18,864.92
1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment   Fremont Office Server - PowerEdge R440 (3 of 3) - Finance Lease # 003-9026263-002   STV-CM-00006   3/31/2019      18,864.92
                                                                        Total Office Furniture & Fixtures (Net of Accumulated Appreciation)                                              105,981.38
SCHEDULE A/B EXHIBIT

     Question 50
Machinery & Equipment Detail Line 50 Schedule AB
Account 1300-00-00                                                                                    $               2,300,162.29
Account 1300-00-11                                                                                    $               9,244,165.24
Account 1300-00-13                                                                                    $                 737,106.52
Account 1400-50-10                                                                                    $                 184,861.51
Historic Account Credits                                                                              $                (483,954.00)
Total Gross                                                                                           $              11,982,341.56

Accumulated Depreciation                                                                              $              (6,577,136.30)

Total Net                                                                                             $               5,405,205.26

GL Account                                                           Asset Description                          Asset #                  Placed in Service
1300-00-00 Machinery, Furniture & Fixures   Cleanroom(Full Option1)                                         STV-ME-00001                           11/1/2015
1300-00-00 Machinery, Furniture & Fixures   Electric Power Syetem                                           STV-ME-00002                           11/1/2015
1300-00-00 Machinery, Furniture & Fixures   LCM BLU Line & LCM BLU Line Equipment                           STV-ME-00003                           11/1/2015
1300-00-00 Machinery, Furniture & Fixures   Coretronics Tooling                                             STV-ME-00008                            5/1/2016
1300-00-00 Machinery, Furniture & Fixures   Pegatron Chaisse -Accrued 2016                                  STV-ME-00009                            5/1/2016

 Subtotal


1300-00-11 Iinuma Machines                  Mass Production Unit                                            STV-ME-00010                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Unit - VAT                                      STV-ME-00011                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Line : Installation - Accrued 2016              STV-ME-00012                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Unit : Passive Alignment - Accrued 2016         STV-ME-00013                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Unit : Temp Control - Accrued 2016              STV-ME-00014                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Unit - Accrued AP 2016                          STV-ME-00015                            5/1/2016
1300-00-11 Iinuma Machines                  Mass Production Unit - Accrued 2016                             STV-ME-00016                            5/1/2016
 Subtotal


1300-00-13 Small Production Unit            Small Production Unit                                           STV-ME-00004                           11/1/2015
1300-00-13 Small Production Unit            Small Production Unit - VAT                                     STV-ME-00005                           11/1/2015
1300-00-13 Small Production Unit            Small Production Unit                                           STV-ME-00006                           11/1/2015
1300-00-13 Small Production Unit            Small Production Unit                                           STV-ME-00007                           11/1/2015
 Subtotal




1400-00-00 Other Asset
 1400-50-10 - CIP Fixed Asset
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            20190222014                     03/06/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            20190222014                     03/06/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019090112                    09/23/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019100008                    10/09/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019100006                    10/09/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019100006                    10/09/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA2019100008                    10/09/2019
2000-00-04 Accounts Payable (CNY)           Suzhou Industrial Equipment Installation Group            SA201911060034                  11/06/2019
Total for 1400-50-10 - CIP Fixed Asset
